             Case 2:21-cv-00920-JLR Document 69 Filed 05/14/24 Page 1 of 4



 1                                                   THE HONORABLE JAMES L. ROBART
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 6
                             UNITED STATES DISTRICT COURT
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9
      AUBRY MCMAHON,
10
                                                        CASE NO. 2:21-CV-00920-JLR
11                   Plaintiff,
                                                        [PROPOSED] ORDER AND FINAL
12           vs.                                        JUDGMENT
13
      WORLD VISION, INC.
14
                   Defendant.
15

16

17
            Upon review of the Joint Motion for Entry of Stipulated Judgment and
18
     Deferral of Petition for Costs and Fees (Dkt. No. 68), and having considered this
19
     matter, the motion is GRANTED, and Court hereby orders as follows:
20
        1. Plaintiff Aubry McMahon is awarded judgment against Defendant World
21
     Vision, Inc. in the total amount of $120,000.00 for all claims made by Plaintiff in this
22
     case, not including costs, attorney’s fees, or post-judgment interest.
23
        2. The time for Plaintiff to file her bill of costs, petition for attorney’s fees, and
24
     calculation of post-judgment interest pursuant to Federal Rule of Civil Procedure
25
     54(d)(1) is deferred until 30 days after the expiration of the deadline to appeal or after
26
     final resolution of all appellate proceedings, whichever is later.
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            Case 2:21-cv-00920-JLR Document 69 Filed 05/14/24 Page 2 of 4



 1      3. This is a final judgment for purposes of appeal under 28 U.S.C. § 1291.

 2      4. In stipulating to the entry of this judgment, and as further described in the

 3   Joint Motion, Defendant reserves and does not waive its rights to appeal this

 4   judgment and/or any of the Court’s previous rulings, including without limitation

 5   Dkts. #38, #39, #44, #47, #49, and #62.

 6      IT IS SO ORDERED.

 7           May 14, 2024
     Dated: _______________
 8

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                                                A
                                               _________________________________
                                               JUDGE JAMES L. ROBART
                                               United States District Court Judge
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            Case 2:21-cv-00920-JLR Document 69 Filed 05/14/24 Page 3 of 4



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             Case 2:21-cv-00920-JLR Document 69 Filed 05/14/24 Page 4 of 4



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